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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                             :
                                                     :
                                                     :
                 v.                                  :       Case No. 21-mj-307
                                                     :
                                                     :
JEFFREY MCKELLOP,                                    :
                                                     :
                                                     :
                               Defendant.            :

 GOVERNMENT’S OPPOSITION TO DEFENDANT’S MOTION FOR REVOCATION
           OR REVIEW OF PRETRIAL DETENTION ORDER

          The defendant, Jeffrey McKellop, weaponized his extensive military training and

experience to attack the U.S. Capitol and facilitate its breach during Constitutional proceedings on

January 6, 2021. More specifically, after donning a gas mask to protect himself from riot-control

spray, the defendant repeatedly assaulted sworn officers defending the Capitol, including by

stabbing an officer in the face with a flagpole, resulting in injuries still visible months later.

Following a detention hearing, Magistrate Judge Faruqui determined that no condition or combination

of conditions would protect the community or any member thereof from the defendant’s dangerousness.

His decision was careful and correct, and no cause to disturb it exists. Accordingly, the government

respectfully requests the defendant’s Motion for Revocation or Review of Pretrial Detention Order be

denied.

                                 REVELANT BACKGROUND

          The government hereby incorporates by reference its Memorandum in Support of Pre-Trial

Detention, docketed at ECF No. 16, and the four video exhibits presented at the detention hearing

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before Magistrate Judge Faruqui. For the defendant’s conduct on January 6, 2021, he is currently

charged by Complaint with: (1) Assaulting an Officer of the United States with a Deadly or

Dangerous Weapon, in violation of 18 U.S.C. §§ 111(a)(1) and (b); (2) Civil Disorder, in violation

of 18 U.S.C. § 231(a)(3); (3) Knowingly Entering or Remaining in any Restricted Building or

Grounds Without Lawful Authority with a Deadly or Dangerous Weapon, with a Deadly or

Dangerous Weapon in violation of 18 U.S.C. §§ 1752(a)(1), (b)(1)(A); (4) Disorderly and

Disruptive Conduct in a Restricted Building or Grounds, with a Deadly or Dangerous Weapon, in

violation of 18 U.S.C. §§ 1752(a)(2), (b)(1)(A); (5) Engaging in Physical Violence in a Restricted

Building or Grounds, with a Deadly or Dangerous Weapon, in violation of 18 U.S.C. §§

1752(a)(4), (b)(1)(A); and, (6) Violent Entry and Disorderly Conduct on Capitol Grounds, in

violation of 40 U.S.C. § 5104(e)(2)(F). He was arrested on March 17, 2021. At his March 18,

2021, initial appearance, the United States requested detention pursuant to 18 U.S.C. §§

3142(f)(1)(A) and (E), on the ground that the defendant had been charged with both a crime of

violence and a felony involving a dangerous weapon. Magistrate Judge Faruqui set a detention

hearing for March 22, 2021, and it continued until March 23, 2021. After reviewing the

government’s memorandum in support and attached video exhibits, the defendant’s memorandum

in opposition, and hearing arguments, Magistrate Judge Faruqui determined that no condition or

combination of conditions would protect the community from the defendant’s dangerousness.

                                         ARGUMENT

       The government hereby incorporates by reference its arguments as detailed in its

Memorandum in Aid of Pre-Trial Detention, ECF No. 16, and will not repeat them in every

particular here, but will briefly review the four factors under § 3142(g) that the Court considers


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and weighs in determining whether to detain a defendant pending trial: (1) the nature and

circumstances of the offense charged; (2) the weight of the evidence against the defendant; (3) his

history and characteristics; and (4) the nature and seriousness of the danger to any person or the

community that would be posed by his release. See 18 U.S.C. § 3142(g).

       With respect to the nature and circumstances of the offenses charged, the government

emphasizes they are violent assaults on multiple law enforcement officers, including using a

dangerous weapon and inflicting bodily injury. The defendant came prepared for this violence,

wearing tactical gear and gas mask to aid his activities, which occurred during Constitutional

proceedings of national significance. As to the weight of the evidence, the defendant’s offenses

are captured on video, as seen in Exhibits 1 through 4. With respect to the defendant’s history and

characteristics, they include most notably that he used past training and experience to anticipate,

plan for, and execute violent acts against law enforcement. Finally, the nature and seriousness of

the danger posed by his release is demonstrated by his repeated violent assaults on law enforcement

officers, evincing his capacity and willingness to do harm to others and utter disregard and

disrespect for the law.

       Two points deserve special emphasis. First, the defendant is a highly trained military

veteran and his actions at the Capitol appear strategic, that strategy being to disable and disarm as

many officers as possible to facilitate the breach of the U.S. Capitol by others. He came prepared

for this task, bringing with him a gas mask that effectively immunized him against the riot-control

spray used by officers defending the Capitol. Second, as Magistrate Judge Faruqui noted in his

ruling, this defendant’s actions are among the most egregious yet identified. The defendant’s

violent acts were committed unflinchingly and with marked disrespect for the law. After stabbing

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an officer with a flagpole, the defendant threw it like a spear as the officer retreated. After

assaulting a line of officers, including attempting to grab the riot-control spray out of the hands of

one officer, he offered them a universal symbol of disrespect—the middle finger (Figure A).




                       Figure A (Still Image from Government’s Exhibit 2)




       This Court’s decision in United States v. Chrestman, referenced by Magistrate Judge

Faruqui in his ruling, applies forcefully here. In that case, the Court detained a defendant due to

dangerousness, noting:

       Grave concerns are implicated if a defendant actively threatened or confronted
       federal officials or law enforcement, or otherwise promoted or celebrated efforts to
       disrupt the certification of the electoral vote count during the riot, thereby
       encouraging others to engage in such conduct. These factors measure the extent of
       a defendant’s disregard for the institutions of government and the rule of law,

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        qualities that bear on both the seriousness of the offense conduct and the ultimate
        inquiry of whether a defendant will comply with conditions of release meant to
        ensure the safety of the community.
United States v. Chrestman, 21-mj-218 (BAH), ECF No. 23, at *13, 16 (D.D.C. Feb. 26,
2021).

This defendant’s disregard for the law involved weaponizing the training and experience he

received while under oath to protect the Constitution, and using it to attack, violently, sworn

officers defending its legitimate processes. Under Chrestman, he must be detained pending trial

due to his dangerousness. The government further submits that, now that the defendant is aware

of the gravity of the charges against him and the scope of the government’s evidence, the likelihood

that he would apply his training and experience to flee prosecution has increased.

                                         CONCLUSION

        The government has been working as quickly and diligently as possible to apprehend the

hundreds of perpetrators of the January 6, 2021, assault on the U.S. Capitol, as well as to provide

to the Court accurate and complete information to aid in determining whether pre-trial detention

is necessary. The information the government has provided here plainly shows that, with respect

to this defendant, it is.


        WHEREFORE, the United States respectfully requests that the Court deny the defendant’s

Motion for Revocation or Review of Pre-Trial Detention Order.


                                              Respectfully submitted,

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                                              Acting United States Attorney
                                              D.C. Bar No. 415793


                                              By: /s/ Mary L. Dohrmann

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